 Case 8:20-cv-00048-JVS-JDE     Document 2098 Filed 08/30/24   Page 1 of 4 Page ID
                                     #:182103



1    Joseph R. Re (Bar No. 134479)
     joseph.re@knobbe.com
2    Stephen C. Jensen (Bar No. 149894)
     steve.jensen@knobbe.com
3    Sheila N. Swaroop (Bar No. 203476)
     sheila.swaroop@knobbe.com
4    Irfan A. Lateef (Bar No. 204004)
     irfan.lateef@knobbe.com
5    Benjamin A. Katzenellenbogen (Bar No. 208527)
     ben.katzenellenbogen@knobbe.com
6    Brian C. Claassen (Bar No. 253627)
     brian.claassen@knobbe.com
7    Stephen W. Larson (Bar No. 240844)
     stephen.larson@knobbe.com
8    Kendall M. Loebbaka (Bar No. 285908)
     kendall.loebbaka@knobbe.com
9    KNOBBE, MARTENS, OLSON & BEAR, LLP
     2040 Main Street, Fourteenth Floor
10   Irvine, CA 92614
     Phone: (949) 760-0404; Fax:(949) 760-9502
11
     Adam B. Powell (Bar. No. 272725)            Brian C. Horne (Bar No. 205621)
12   adam.powell@knobbe.com                      brian.horne@knobbe.com
     KNOBBE, MARTENS, OLSON & BEAR, LLP          Mark D. Kachner (Bar No. 234192)
13   3579 Valley Centre Drive                    mark.kachner@knobbe.com
     San Diego, CA 92130                         KNOBBE, MARTENS, OLSON & BEAR, LLP
14   Phone: (858) 707-4000                       1925 Century Park East, Suite 600
     Fax: (858) 707-4001                         Los Angeles, CA 90067
15                                               Phone: (310) 551-3450
                                                 Fax: (310) 551-3458
16   Attorneys for Plaintiffs,
     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17
                    IN THE UNITED STATES DISTRICT COURT
18                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             SOUTHERN DIVISION
19
     MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and             )
     CERCACOR LABORATORIES, INC.,            ) MASIMO’S NOTICE OF ISSUES TO
21   a Delaware corporation                  ) BE TRIED AT NOVEMBER 5 TRIAL
                                             )
22               Plaintiffs,                 )
                                             ) Hon. James V. Selna
23         v.                                )
                                             )
24   APPLE INC., a California corporation    )
                                             )
25               Defendant.                  )
                                             )
26                                           )
27
28
 Case 8:20-cv-00048-JVS-JDE      Document 2098 Filed 08/30/24        Page 2 of 4 Page ID
                                      #:182104



1          Pursuant to the Court’s Order, Dkt. 2089, Plaintiffs Masimo Corporation and
2    Cercacor Laboratories, Inc. (jointly, “Masimo”) hereby file this Notice Identifying All
3    Claims and Remedies Masimo Intends To Pursue At The November 5 Trial.
4                                 I. CLAIMS TO BE TRIED
5          In view of the Court’s Order Granting Motion to Bifurcate (Dkt. 2064), Masimo
6    selects the following claims set forth in the Pre-Trial Conference Order (Dkt. 1483 at 3)
7    for trial on November 5:
8          Claim 13: Apple’s Violation of the California Uniform Trade Secrets Act;
9          Claim 14: Correction of Inventorship of U.S. Patent No. 10,078,052;
10         Claim 15: Correction of Inventorship of U.S. Patent No. 10,247,670;
11         Claim 16: Correction of Inventorship of U.S. Patent No. 9,952,095;
12         Claim 17: Correction of Inventorship of U.S. Patent No. 10,219,754;
13         Claim 20: Declaratory Judgment of Ownership of U.S. Patent No. 10,078,052;
14         Claim 21: Declaratory Judgment of Ownership of U.S. Patent No. 10,247,670;
15         Claim 22: Declaratory Judgment of Ownership of U.S. Patent No. 9,952,095;
16         Claim 23: Declaratory Judgment of Ownership of U.S. Patent No. 10,219,754;
17         Claim 26: Declaratory Judgment of Ownership of U.S. Patent No. 11,009,390;
18              and
19         Claim 28: Correction of Inventorship of U.S. Patent No. 11,009,390.
20                                 II. REMEDIES SOUGHT
21         For the claims identified above, Masimo seeks the following remedies:
22         1)    A permanent injunction against Apple further misappropriating Masimo’s
23   trade secrets;
24         2)    A judgment against Apple disgorging the amount by which Apple was
25   unjustly enriched by misappropriating Masimo’s trade secrets, including any pre- or
26   post-judgment interest;
27         3)    An order directing the U.S. Patent and Trademark Office to correct the
28   inventorship of the ’052, ’670, ’095, ’754, and ’390 patents;

                                                -1-
 Case 8:20-cv-00048-JVS-JDE      Document 2098 Filed 08/30/24         Page 3 of 4 Page ID
                                      #:182105



1          4)    An order imposing a constructive trust requiring Apple to maintain the ’052,
2    ’670, ’095, ’754, and ’390 patents and to continue the prosecution of any pending
3    applications derived from the patent applications that led to those patents;
4          5)    An order declaring Masimo a joint owner of the ’052, ’670, ’095, ’754, and
5    ’390 patents, and all applications, patents, continuations, divisionals, and reissues that
6    claim priority to those patents and that patent application, including foreign counterparts;
7    and
8          6)    An award for Apple’s willful and malicious misappropriation of trade secrets
9    under CUTSA including any exemplary award, attorneys’ fees, and costs.
10              III. WITHDRAWAL OF REASONABLE ROYALTY REMEDY
11                                       UNDER CUTSA
12         Although the weight of authority holds that the reasonable royalty remedy under
13   California Uniform Trade Secrets Act (“CUTSA”) is a remedy in equity,1 Masimo is
14   aware of one case suggesting that such remedy is at law and thus would give rise to a
15   right to trial by jury. Palantir Techs. Inc. v. Abramowitz, 639 F. Supp. 3d 981, 989-90
16   (N.D. Cal. 2022). To remove any need for the Court to resolve this issue, Masimo
17   withdraws its request for a reasonable royalty remedy under CUTSA.
18       IV. REMAINING CLAIMS AND REMEDIES FOR NOVEMBER 5 TRIAL
19                                      ARE IN EQUITY
20         The only remaining claims (i.e., misappropriation, patent ownership, and
21   inventorship) and remedies (i.e., injunction, disgorgement, correction of inventorship,
22   constructive trust, and declaratory relief) to be tried on November 5, 2024, do not give
23   rise to any right to trial by jury because all claims and remedies are equitable in nature.
24
25
     1
      Atl. Inertial Sys., Inc. v. Condor Pac. Indus. of California, Inc., 545 F. App’x 600, 601
26   (9th Cir. 2013); Atl. Inertial Sys. Inc. v. Condor Pac. Indus. of California, Inc., 2015 WL
27   3825318, at *11 (C.D. Cal. June 18, 2015); FAS Techs., Ltd. v. Dainippon Screene Mfg.,
     Co., 2001 WL 1159776, at *3 (N.D. Cal. Sept. 21, 2001); Ajaxo Inc. v. E*Trade
28   Financial Corp., 187 Cal. App. 4th, 1295, 1299-1300, 1308 (2010).

                                                 -2-
 Case 8:20-cv-00048-JVS-JDE      Document 2098 Filed 08/30/24         Page 4 of 4 Page ID
                                      #:182106



1                              V. RESERVATION OF RIGHTS
2          Masimo maintains its right to trial by jury on its patent infringement claims and
3    remedies, which are currently bifurcated for a separate trial.
4
5
6                                              Respectfully submitted,
7                                              KNOBBE, MARTENS, OLSON & BEAR, LLP
8
9    Dated: August 30, 2024                    By: /s/ Joseph R. Re
                                                    Joseph R. Re
10                                                  Stephen C. Jensen
                                                    Sheila N. Swaroop
11                                                  Benjamin A. Katzenellenbogen
                                                    Brian C. Horne
12                                                  Brian C. Claassen
                                                    Mark D. Kachner
13                                                  Adam B. Powell
                                                    Kendall M. Loebbaka
14
                                                      Attorneys for Plaintiffs
15                                                    MASIMO CORPORATION and
16                                                    CERCACOR LABORATORIES, INC.
17
18
19
20
21
22
23
24
25
26
27
28

                                                -3-
